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                           UNITED STATES DISTRICT COURT
                                DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                :
                                         :
v.                                       :       1:21-cr-00175-TJK
                                         :
ETHAN NORDEAN, ET AL.                    :       AUGUST 23, 2023




     DEFENDANTS BIGGS’ AND REHL’S REPLY MEMORANDUM RE: SENTENCING


        Mssrs. Biggs and Rehl raise two objections to arguments made by the

Government in its sentencing memorandum of August 17, 2023. First, the terrorism

enhancement is uncalled for and is unsupported by the factual allegations and the

counts of conviction in this case. Second, the Government’s portrayal of the men

through its selective reading of their criminal history mischaracterizes the defendants

and is unnecessary surplusage given the factors this Court must consider in sentencing.

        I.    The “Terrorism” Enhancement is Outside the Heartland of Offenses
              the Guidelines Seek to Capture as Eligible for Extra Punishment
        The Government seeks a terrorism enhancement as to each defendant pursuant

to Section 3a1.4 of the United States Sentencing Guidelines. If applied, the

enhancement would elevate the already steep penalties recommended in the PSR to

catastrophic levels – 30 years for Rehl and 33 years for Biggs. One takes the

Government at its word in this case – it seeks draconian sentences to be imposed, not

merely as an expressive gesture to capture the imagination of headlines writers and



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partisans.1 It has almost invariably been the case in the January 6 prosecutions that the

Government’s reach far exceeds what sentencing authorities have permitted it to grasp.

Yet case by case by case the Government continues to seek excessive sentences.

Cynicism is perhaps unavoidable: is the Government seeking to try these cases in the

press for purposes unrelated to just punishment?

      The defendants contend that the terrorism enhancement is inapplicable in this

case as outside the heartland of what the United States Sentencing Commission

contemplated.

              Section 3A1.4 calls for a terrorism enhancement if the following conditions

are met:

              (a) If the offense is a felony that involved, or as intended to promote, a
                  federal crime of terrorism, increase by 12 levels; but it the resulting
                  offense level is less that level 32, increase to level 32.
              (b) In each such case, the defendant’s criminal history category … hll be
                  Category VI.
Section 3A1.4, USSG.

1 The political nature of these prosecutions cannot be ignored; the call for draconian

sentences is consistent this the desire to send the loudest possible signal, to change
“social norms,” as it were, in such a way as to deter others from ever even considering
acts similar to those engaged in by the defendants. See, Cass Sunstein, On the
Expressive Function of Law, University of Pennsylvania Law Review, Vol. 144: 2021
(1996)(exploring the function of law as “making statements”” rather than controlling
behavior). “[Reformers] argue that the expressive value is lost when an alleged
domestic terrorist is criminally charged without being expressly labeled as a terrorist.”
Note, Responding to Domestic Terrorism: A Crisis of Legitimacy, Harvard Law Review,
Vol 136, 1914, 1920 (2023). The author of the Note goes on to note: “[T]he government
may not be able to differentiate adequately between peaceful, First Amendment-
protected conduct and genuine threats of domestic terrorism. Moreover, those who are
concerned about the civil liberties risks associated with aggrandizing the federal
government’s power in this context argue that the risk of selective targeting of groups is
higher due to political polarization.” Id., 1926. The author notes the obvious: “There is
no federal crime of domestic terrorism.) Id., 1916; efforts to use the Guidelines
effectively to create one are “misguided.” Id.
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       The Applications Notes specify that “a federal crime of terrorism” has the

meaning given that term in 18 U.S.C. Section 2332(g)(5). Section 2332(g)(5) covers a

broad range of conduct. To satisfy that definition, an offense must satisfy two conditions:

first, it must be “calculated to influence or affect the conduct of government by

intimidation or coercion, or to retaliate against government conduct;” the conduct must

also be a violation of one of roughly 50 discrete statutes. One count of conviction in the

instant case is captured by the net, to wit: A violation of 18 U.S.C. Section 1361,

pertaining to a fence knocked over in the course of the riot on January 6, 2021.

Because the fence was valued at more than $1,000, the offense is a felony. Did the

drafters of the Guidelines really consider the destruction of a fence in the course of a

riot to be “a federal crime of terrorism”?

       1. What “Terroristic” Conduct the Guidelines Captures

       The Government seeks to enhance the sentences in this case by application of a

Guidelines provision targeting such crimes as assassination of federal officials, using

biological or nuclear weapons, using other weapons of mass destruction, arson,

disrupting activities having a substantial impact on interstate commerce, including air

and sea travel, and consorting with known terrorists. One statute, 18 U.S.C. Section

1361, involving destruction of government property, falls within the list of nearly 50

specified federal statutes supporting the enhancement. But as applied in this case, the

statute involves the destruction of a fence used as a tool to demarcate the permitter of a

protected area and useful primarily for crowd control. The value of the fence can be

measured in the tens of thousands of dollars. It simply bears no meaningful comparison




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to the other harms contemplated by the Sentencing Commission when it drafted the

Guidelines.

       A table reflecting the nature of the crimes captured by Section 2332(g)(5)

demonstrates why this case is not what drafters of the Guidelines had in mind. The

destruction of a fence simply does not belong in the catalog of horribles contemplated

by the list of crimes. The following table reflects the offenses listed in Section (g)(5). All

offenses are found in Title 18 of the United States Code.

    18 U.S.C… Proscribed conduct                   Consequence of violation
   Section (i)
   1. 32      destruction of aircraft              substantial property damage
              or aircraft facility
   2. 37      relating to violence at              violence; risk of injury to person
              International airport
   3. 81      arson within specified areas         substantial property damage
   4. 175     re: biological weapons               risk of widespread injuries to persons
   5. 175c    use of variola virus                 risk of widespread injuries to persons
   6. 229     re: chemical weapons                 risk of widespread injuries to persons
   7. 351     assassination/kidnapping             risk of serious injury to person
   8. 831     re: nuclear weapons                  risk of widespread injuries to persons
   9. 832     threatened mass destruction          substantial disruption of normal life
   10. 842    re: plastic explosives               risk of widespread injury to persons
   11. 844    arson/bombing federal property       risk of injury to persons/property
   12. 930    re: attempting to kill               risk of serious injury to person
   13. 956    conspiracy to murder/kidnap          risk of serious injury to person
   14. 1030   re. protection of computers          substantial interference with commerce
   15. 1114   killing federal officials            risk of serious injuries to persons
   16. 1116   killing diplomats                    risk of serious injury to person
   17. 1203   re: hostage taking                   risk of serious injury to person
   18. 1361   re: government property              THE INSTANT OFFENSE2
   19. 1362   re: communications systems           property damage




2 The defendants were convicted on one count of 18 U.S.C. Section 1361, involving a

perimeter fence at the Capitol. The entire fence was replaced, at a cost of
approximately $32,000.
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   18 U.S.C… Proscribed conduct                   Consequence of violation
   20. 1363 re: maritime property               property damage
   21. 1366 re: energy facility                 property damage
   22. 1751 kidnapping president/staff          risk of serious injury to person
   23. 1992 re: mass transportation/utilities property damage
   24. 2155 re: national defense facilities     property damage
   25. 2156 re: national defense facilities     property damage
   26. 2280 re: maritime navigation             property damage
   27. 2281 re: fixed maritime property         property damage
   28. 2332 re: murder outside U.S.             serious injury to person
   29. 2332a re: weapons of mass destruction risk of serious injuries to persons
   30. 2332b re: terrorism across borders       risk of serious injury to persons
   31. 2332f re: bombing public places          risk of injury to persons/places
   32. 2332g re: missiles targeting aircraft    risk of injury to persons/places
   33. 2332h re: radiation dispersal devices    risk of serious injury to person
   34. 2332i re: nuclear terrorism              risk of serious injury to person
   35. 2339 re: harboring terrorists            risk of injury to person
   36. 2339A re: material support to terrorists risk of injury to person
   37. 2339B re: support terrorist organization risk of injury to person
   38. 2339C re: financing terrorism            risk of injury to person
   39. 2339D re: training by foreign terrorists risk of injury to person
   40. 2340A re: torture                        92risk of injury to person
   Section (ii)
   41. 92     re: atomic weapons                  risk of injury to persons/property
   42. 236    sabotage of nuclear facility        risk of injury to persons/property
   Section (iii)
   43. 46502 re: aircraft piracy                risk of injury to persons
   44. 46504 re: assault on a flight crew       injury to persons
   45. 46505 re: used of explosives on aircraft serious risk of injuries to persons
   46. 46506 re: homicide on aircraft           injury to person
   47. 60123 re: destruction pipelines          injury to property
   Section (iv)
   48. Specified narcotics offenses3              injury to persons.

       Almost every predicate statute supporting application of the terrorism statute

involves risk of serious injury to persons or property, substantial interference with



3 Section 1010A of the Controlled Substances Import and Export Act (relating to narco-

terrorism).
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interstate travel and/or commerce, or providing substantial assistance to registered

terrorist organizations. While the destruction of Government property arising under 18

U.S.C. Section 1361 may well overlap with these categories, it is not necessary that it

do so in every case. For example, blowing up a building would easily involve substantial

property damage and potential risk of injury to persons. But not every act damaging

government property does so. There is a center of gravity in the overwhelming majority

of predicate statutes supporting the enhancement that reflects catastrophic harm –

murder, kidnapping, use of nuclear or biohazard weapons, interference with air travel.

When these acts are done with the intent to influence or obstruct the operation of

government, the activities reflect the gravitas necessary to support a claim of terrorism.

At worst, the fence at issue here was destroyed as rioters surged toward the Capitol

building intent on obstructing an official proceeding; the fence was knocked over and

rendered incapable of being used gain. The destruction of the fence served no

independent criminal purpose, it was a means to an end. One arguably might kill a

public official or blow up an airliner to send a message; destroying a fence sends no

message, it was an obstacle to be overcome in order to get to the Capitol building. The

terrorism enhancement does not apply to obstruction of official proceedings; it should

not apply to overcoming an incidental, and comparatively trivial, obstacle to

accomplishing the obstruction.

       2. The Destruction of a Perimeter Fence is Different in Kind from the Other
          Conduct Warranting an Enhancement
       Destruction of a portion of perimeter fence at a public event is simply so different

from the other sorts of activities contemplated by the predicate offenses that, although




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the conduct might meet the statutory definition of 18 U.S.C. Section 1361, it is different

in kind. As such, the terrorism enhancement is inappropriate.

       The defendants were convicted of one count of 18 U.S.C. Section 1361, relating

to destruction of a crowd-control fence outside the Capitol on January 6, 2021. The

fencing at various locations served several purposes, marking off areas in which the

public was not free to travel, and helping control crowd movements on Inauguration

Day. The entire fence, used only periodically, had to be replaced at a cost of

approximately $32,000, according to a representative of the Architect of the Capitol.

Significantly, the PSR recommends restitution from Mssrs. Biggs and Rehl to the

Government at $2,000 each. It is impossible to say just how many people contributed to

damage to the fence.

       3. The Courts’ Application of This Enhancement Has Been Inconsistent,
          Yielding Potentially Unwarranted Sentencing Disparities


       Application of the terrorism enhancement has been inconsistent in this District. In

United States v. Reffitt, the Government sought the enhancement against a recruiter for

The Three Percenters. The enhancement was rejected by Judge Dabney Friedrich,

despite the fact that the defendant was armed while engaging in obstructing an official

proceeding. Judge Friedrich sentenced Mr. Reffitt to 7.25 years, about half of what the

Government sought. 1:21-cr-00032.

       In United States v. Judd, Judge McFadden rejected the Government’s request for

a terrorism enhancement for a man who used an incendiary device in a crowded tunnel

packed with police and protestors, noting that Mr. Judd as “in some ways there at the



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behest of the president.” 1:21-cr-00040. The Court imposed one-third of the sentence

the Government sought in the Judd case.

      After a defendant’s vitriolic outburst directed at prosecutors and the Government,

Judge Amit Mehta did apply the terrorism enhancement to Audrey Southard-Rumsey, a

Florida music teacher. The judge singled out threatening language Ms. Southard-

Rumsey directed at former House Speaker Nancy Pelosi; she was sentenced to six

years, despite the enhancement. 1:21-cr-00387.

      In United States v. Rhodes and United States v. Meggs, 1:22-cr-00015, involving

two members of the Oath Keepers tried together and convicted of seditious conspiracy,

Judge Mehta applied the terrorism enhancement, but then imposed sentences well

below the Government’s request. Significantly, the evidence in the Oath Keepers case

reflects that members of the group had arranged to have firearms in close proximity to

the Capitol on January 6, 2021, and were prepared both to transport the weapons into

the City and to use the weapons in support of the opposition to the Government.

      Mr. Rhodes was sentenced to 18 years after a defiant presentation in Court at

sentencing; Mr. Meggs was sentenced to 14 years.

      Thus, guns may, or may not, be a salient feature in applying the enhancement;

speaking out may also be a factor, but seditious conspiracy is not a predicate offense

justifying the enhancement. Even when applied, Courts have not sentenced in

accordance with the enhancement’s requirements. No clear and discernable pattern

emerges from application of the enhancement. The danger of inconsistent application

and unwarranted disparities is obvious.


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       It is clear that the Government seeks the enhancement with some regularity;

what is unclear is why the Courts sometimes give it, and sometimes deny it, while never

sentencing in accordance with its full force and vigor. The terrorism enhancement’s use

in this district suggests a jurisprudence mired in search of coherence.

      Whether the federal penal code needs to be amended to create a statute capable

of evenhanded and coherent application is a topic for another day and another branch

of government. The defendants contend that given the treatment of defendants in

related cases to date, application of the enhancement would result in further confusion.

They request that the Court reject application of the enhancement.

      4. In the Event that the Court Believes the Conduct Warrants a Terrorism
         Enhancement, the Defendants Request A Non-Guidelines Sentence as
         the Conduct at Issue is Outside of the Heartland of What the Sentencing
         Commission Contemplated
             “United States Sentencing Guidelines. Section 5K2.0 provides: "The
      sentencing court may impose a sentence outside the range established by the
      applicable guidelines, if the court finds 'that there exists an aggravating or
      mitigating circumstance of a kind, or to a degree, not adequately taken into
      consideration by the Sentencing Commission in formulating the guidelines that
      should result in a sentence different from that described.' " United States
      Sentencing Guidelines § 5K2.0 (quoting 18 U.S.C. § 3553(b)). The Supreme
      Court has explained that district courts may depart under section 5K2.0 on the
      basis of a particular factor not specifically mentioned in the Guidelines if,
      "considering the structure and theory of both relevant individual guidelines and
      the Guidelines taken as a whole … it is sufficient to take the case out of
      the Guideline's heartland." Koon v. United States, 518 U.S. 81, 96, 135 L. Ed. 2d
      392, 116 S. Ct. 2035 (1996) (internal citation and quotation marks omitted).
United States v. Vizcaino, 202 F.3d 345, 347, 2000 U.S. App. LEXIS 2018, *6, 340 U.S.

App. D.C. 122.

      The defendants were convicted in this case of interlocking conspiracies to use

force against the authority of the United States Government and to obstruct an official


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proceeding. They did so by means of participating in a riot at the Capitol on January 6,

2021. That riot was sometimes violent and sometimes resulted in destruction of

property. They were convicted of a property-related offense.

       The defendants contend that the minor nature of the property destruction in this

case, when compared to the gravity of the predicate offenses rendering a defendant

eligible for the terrorism enhancement, is “sufficient to take the case out of

the Guideline's heartland.” Koon v. United States, 518 U.S. 81, 96, 135 L. Ed. 2d 392,

116 S. Ct. 2035 (1996). The defendants did not destroy a fence in order to influence or

threaten the government or government officials. They did so, on the evidence the jury

credited, in order to gain access to an official proceeding. As noted earlier, obstruction

of an official proceeding and seditious conspiracy are not predicate offenses. The

destruction of the fence here was a means to an end; the end sought is not among the

predicate offenses Guidelines drafters contemplated when creating the enhancement.

       II.    The Government’s Use of the Defendants’ Criminal Histories
              Mischaracterizes the Defendants
       The Government’s selective use of criminal histories resulting in both defendants

having been categorized as Criminal History I is extraordinary and unnecessary. The

defendants suggest that the conduct at issue is overstated, irrelevant and should not, in

fairness, be considered by the Court as it contemplates a sentence sufficient, but not

greater than necessary, to serve the goals of just punishment.

       III.   Conclusion
       It is difficult to resist the conclusion that the Government seeks a terrorism

enhancement in this case for its anchoring effect. The draft PSRs in this case sought

sentences in the range of 10 to 14 years for the defendants. These are more than
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sufficient sentences. Indeed, in the defendants’ views, as argued in their sentencing

memorandum, sentences far less than what the PSR recommends are appropriate.

Designating the men as terrorists may have consequences inconsistent with the any

rehabilitative goals the Burean of Prisons may offer by rendering them ineligible to

participate in programs.

       The Government’s pursuit of a questionable terrorism enhancements more than

doubles the Guidelines sentences. Are the defendants supposed now to pin their hopes

on a mere PSR sentence, and be grateful to the Court for not imposing a sentence of 30

years, but, only, let’s say, 15 years? That is still in excess of the PSR recommendations.

       The Government’s posture here is that of an unscrupulous merchant. It has a

product worth, let’s say $5 dollars. But cash-flow is poor, and it wants $10. If it marks up

the price of the item on the shelf to $15 and then announces a sale – 1/3 off! – an

unwitting consumer may think he’s scored a bargain paying $10 for an item worth only

$5. The defendants look to this Court to protect them from such a merchant.

       The defendants ask this Court to reject the Government’s exorbitant suggestions.

Neither Mr. Biggs nor Mr. Rehl is a terrorist. It is ridiculous to suggest so. Respect for

the law and just punishment will not be served by pretending otherwise.

                                    DEFENDANTS BIGGS AND REHL

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                            CERTIFICATION OF SERVICE

       The undersigned hereby certifies that, on the above-captioned date, a copy of

the foregoing was filed electronically and served by mail on anyone unable to accept

electronic filing. Notice of this filing will be sent by email to all parties of record by

operation of the Court’s electronic filing system or by mail to anyone unable to accept

electronic filing. Parties may access this filing through the Court’s system.

                                                        /s/ Norm Pattis /s/




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